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Attorney for Plaintiff,
Scanning Technologies Innovations, LLC

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

SCANNING TECHNOLOGIES                 §
INNOVATIONS, LLC,                     §
                                      §             Case No.: 2:22-cv-01157-SDW-JSA
      Plaintiff,                      §
vs.                                   §
                                      §
                                      §
PEGASUS U.S.A., LLC,                  §             NOTICE OF MOTION FOR
                                      §             DEFAULT JUDGMENT
      Defendant.                      §
_____________________________________ §


To:    Pegasus U.S.A., LLC
       c/o United States Corporation Agents, Inc.
       330 Changebridge Rd., Ste. 101
       Pine Brook, NJ 07058


       PLEASE TAKE NOTICE that on Monday, December 19, 2022, at 10:00 a.m. or as soon

thereafter as counsel may be heard, Plaintiff Scanning Technologies Innovations, LLC shall appear

before the Honorable Susan D. Wigenton, U.S.D.J., at the Martin Luther King Building & U.S.

Courthouse, 50 Walnut Street, Newark, NJ 07101, and shall move this Court, pursuant Federal

Rule of Civil Procedure 55(b), for an Order granting Default Judgment in favor of Plaintiff.

       PLEASE TAKE FURTHER NOTICE that in support of its Motion, Plaintiff shall rely upon

the Declaration of Leigh Rothschild, and the Memorandum in Support of Default Judgment.




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Dated: November 17, 2022.                    Respectfully submitted,


                                             /s/Mark A. Kriegel
                                             MARK KRIEGEL
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                                             ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

       I hereby certify that on November 17, 2022, I electronically filed the above document(s)
with the Clerk of Court using CM/ECF and sent a copy to the following by US First Class Mail
and by US First Class Mail Certified Mail Return Receipt Requested.

Pegasus U.S.A., LLC
c/o United States Corporation Agents, Inc.
330 Changebridge Rd., Ste. 101
Pine Brook, NJ 07058

                                             /s/Mark A. Kriegel
                                             MARK KRIEGEL




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